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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - X
UNITED STATES OF AMERICA      :                 Order of Restitution

             - v. -                  :
                                                17 Cr. 563 (ER)
LOUIS MARTIN BLAZER,                 :
     a/k/a “Marty,”
                                     :
                   Defendant.
                              :
- - - - - - - - - - - - - - - X

     Upon the application of the United States of America, by

its attorney, Geoffrey S. Berman, United States Attorney for the

Southern District of New York, Robert L. Boone, Assistant United

States Attorney, of counsel; the presentence report; the

Defendant’s conviction on Counts One through Five of the above

Information; and all other proceedings in this case, it is

hereby ORDERED that:


     1.      Amount of Restitution

     LOUIS MARTIN BLAZER, a/k/a “Marty,” the Defendant, shall pay

restitution in the total amount of $1,558,647, pursuant to 18

U.S.C. § 3663 and 18 U.S.C. § 3663A (MVRA), to the victims of the

offenses charged in Counts One and Two.          The names, addresses, and

specific amounts owed to each victim are set forth in the Schedule

of Victims, attached hereto as Schedule A.              Upon advice by the

United States Attorney’s Office of a change of address of a victim,

the Clerk of the Court is authorized to send payments to the new

address without further order of this Court.
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                                    2
             A.    Joint and Several Liability

     Restitution is not joint and several with other defendants

or with others not named herein.


             B.    Apportionment Among Victims

     Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must

be paid before the United States is paid.             Restitution shall be

paid to the victims identified in the Schedule of Victims, attached

hereto as Schedule A, on a pro rata basis, whereby each payment

shall be distributed proportionally to each victim based upon the

amount of loss for each victim, as set forth more fully in Schedule

A.


     2.      Schedule of Payments

     Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the

financial resources and other assets of the Defendant, including

whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial

obligations of the Defendant; including obligations to dependents,

the Defendant shall pay restitution in the manner and according to

the schedule that follows:

     The total amount of restitution is due and payable

immediately pursuant to 18 U.S.C. § 3572(d)(1) upon entry of

this judgment.
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                                3
     The Defendant shall commence monthly installment payments

of not less than an amount equal to 15 percent of the

Defendant’s gross income, payable on the first of each month,

immediately upon entry of this judgment.

     If the Defendant defaults on the payment schedule

set forth above, the Government may pursue other remedies to

enforce the judgment.


     3.      Payment Instructions

     The Defendant shall make restitution payments by certified

check, bank check, money order, wire transfer, credit card or cash.

Checks and money orders shall be made payable to the “SDNY Clerk

of the Court” and mailed or hand-delivered to: United States

Courthouse, 500 Pearl Street, New York, New York 10007 - Attention:

Cashier, as required by 18 U.S.C. § 3611. The Defendant shall write

his name and the docket number of this case on each check or money

order.     Credit card payments must be made in person at the Clerk’s

Office.     Any cash payments shall be hand delivered to the Clerk’s

Office using exact change, and shall not be mailed.             For payments

by wire, the Defendant shall contact the Clerk’s Office for wiring

instructions.
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                                         4
     4.       Additional Provisions

     The Defendant shall notify, within 30 days, the Clerk of

Court, the United States Probation Office (during any period of

probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007

(Attn:    Financial      Litigation    Unit)       of   (1)    any     change   of    the

Defendant’s name, residence, or mailing address or (2) any material

change in the Defendant’s financial resources that affects the

Defendant’s ability to pay restitution in accordance with 18 U.S.C.

§ 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the

time of the execution of this order, the Government may seek a

Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

     5.       Restitution Liability

     The Defendant’s liability to pay restitution shall terminate

on the date that (1) the victims listed in Schedule A have been

made whole, or (2) is the later of 20 years from the entry of

judgment      or    20   years   after       the    Defendant’s         release      from

imprisonment, as provided in 18 U.S.C. § 3613(b).                      Subject to the

time limitations in the preceding sentence, in the event of the

death    of   the   Defendant,   the     Defendant’s          estate    will    be   held

responsible for any unpaid balance of the restitution amount, and
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                                 5
any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue until

the estate receives a written release of that liability.


     Because the defendant is also subject to a Final Judgment

issued on August 4, 2017 in the related case, Securities and

Exchange Commission v. Louis Martin Blazer III, 16-Cv-3384 (JPO)

(the “SEC Judgment”), and because the SEC judgment requires the

defendant to make the same payments to the same victims identified

in Schedule A, the defendant shall be entitled to an offset in any

liability arising under this Order for any payment made to a victim

listed in Schedule A pursuant to the SEC Judgment.             The defendant

shall promptly notify the Clerk of Court and the U.S. Attorney’s

Office each time a payment is made pursuant to the SEC Judgment.


     6.      Sealing

     Consistent      with   18   U.S.C.   §§3771(a)(8)   &   3664(d)(4)   and

Federal Rule of Criminal Procedure 49.1, to protect the privacy

interests of victims, the Schedule of Victims, attached hereto as

Schedule A, shall be filed under seal, except that copies may be

retained and used or disclosed by the Government, the Clerk’s
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                               6
Office, and the Probation Department, as need be to effect and

enforce this Order, without further order of this Court.




     SO ORDERED:

     ____________________________                        ____
     HONORABLE EDGARDO RAMOS                             DATE
     UNITED 4/30/2020
            STATES DISTRICT JUDGE
